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7                           UNITED STATES DISTRICT COURT
8                         CENTRAL DISTRICT OF CALIFORNIA
9                                           ) Case No.: 8:19-cv-01387-JLS-ADS
      JOSEPH L. BECKER, an Individual; )
10                                          ) Hon. Josephine L. Staton
                                            )
11           Plaintiff,                     )
                                            )
12           vs.                            ) ORDER OF DISMISSAL WITH
                                            ) PREJUDICE OF DEFENDANTJS-6
13    VERIZON WIRELESS, a business          ) TRANS UNION LLC AND THE
      entity, form unknown; JEFFERSON       ) ENTIRE CASE
14    CAPITAL SYSTEMS, a business entity, )
      form unknown; EQUIFAX                 )
15    INFORMATION SERVICES, LLC., is )
      a business entity, form unknown;      )
16    EXPERIAN INFORMATION                  )
      SOLUTIONS INC., is a business entity, )
17    form unknown; TRANSUNION, LLC, a )
      business entity, form unknown and     )
18    DOES 1-10, Inclusive,                 )
                                            )
19                                          )
             Defendants.                    )
20                                          )
                                            )
21                                          )_
22
23          Plaintiff Joseph L. Becker and Defendant Trans Union LLC have announced

24    to the Court that all matters in controversy between them have been resolved.
25          A Stipulation of Dismissal with Prejudice has been signed and filed with the
26    Court. Having considered the Stipulation of Dismissal with Prejudice, the Court
27    makes and delivers the following ruling:
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                                                        1
               ORDER re: Stipulation of Dismissal With Prejudice of TRANS UNION and Entire Case
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1           IT IS ORDERED that the claims and causes of action asserted herein by

2     Plaintiff Joseph L. Becker against Defendant Trans Union LLC are in all respects
3     dismissed with prejudice.
4           Additionally, since there are no remaining defendants, the entire case is
5     dismissed with prejudice.
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7     DATED this 19th day of October, 2020.
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10                                                 JOSEPHINE L. STATON
                                                  __________________________
11                                                JOSEPHINE L. STATON
12                                                UNITED STATES DISTRICT JUDGE
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               ORDER re: Stipulation of Dismissal With Prejudice of TRANS UNION and Entire Case
